Case 1:22-cv-10019-JSR Document 220-1 Filed 09/18/23 Page 1 of 4




                      EXHIBIT 1
       Case 1:22-cv-10019-JSR Document 220-1 Filed 09/18/23 Page 2 of 4


From:            Wohlgemuth, Stephen
To:              Butts, John; Ellsworth, Felicia H
Subject:         RE: Settlement Communications
Date:            Thursday, July 20, 2023 6:21:21 PM



EXTERNAL SENDER

We’re going to hold on the materials that Judge Phillips is objecting to right now.

We do want to raise the a/c privilege issue separately and earlier. Are you free tomorrow for court
call to ask a briefing schedule on that?

Stephen Wohlgemuth
Williams & Connolly LLP
680 Maine Avenue SW, Washington, DC 20024
202-434-5390 | www.wc.com


From: Butts, John <John.Butts@wilmerhale.com>
Sent: Wednesday, July 19, 2023 11:37 PM
To: Wohlgemuth, Stephen <SWohlgemuth@wc.com>; Tuttle Newman, Jake
<Jacob.TuttleNewman@wilmerhale.com>; Schiffmann, Eden <ESchiffmann@wc.com>; Warren, Zach
<ZWarren@wc.com>; Bayerl, Joseph <JBayerl@wc.com>; Thompson, Kees
<KeesThompson@wc.com>; Dunn, J.J. <jdunn@wc.com>
Cc: WHJPMCService <WHJPMCService@wilmerhale.com>
Subject: RE: Settlement Communications

We obviously disagree on the objections. Let me circle up with the others on a time for a call. We’ll
get back to you in the am.


From: Wohlgemuth, Stephen <SWohlgemuth@wc.com>
Sent: Wednesday, July 19, 2023 9:33 PM
To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; Schiffmann, Eden
<ESchiffmann@wc.com>; Warren, Zach <ZWarren@wc.com>; Bayerl, Joseph <JBayerl@wc.com>;
Thompson, Kees <KeesThompson@wc.com>; Dunn, J.J. <jdunn@wc.com>
Cc: WHJPMCService <WHJPMCService@wilmerhale.com>
Subject: RE: Settlement Communications

EXTERNAL SENDER


Counsel:

The objections based on the “mediation/settlement privilege” are completely baseless. Let’s call the
Court tomorrow at 4 to raise the issue. We will also raise the letter brief on the attorney-client
privilege issues. As I have mentioned, we will need a reply.
        Case 1:22-cv-10019-JSR Document 220-1 Filed 09/18/23 Page 3 of 4



Thanks.

From: Tuttle Newman, Jake
<Jacob.TuttleNewman@wilmerhale.com<mailto:Jacob.TuttleNewman@wilmerhale.com>>
Date: Friday, Jul 14, 2023 at 10:07 PM
To: Wohlgemuth, Stephen <SWohlgemuth@wc.com<mailto:SWohlgemuth@wc.com>>, Schiffmann,
Eden <ESchiffmann@wc.com<mailto:ESchiffmann@wc.com>>, Warren, Zach
<ZWarren@wc.com<mailto:ZWarren@wc.com>>, Bayerl, Joseph
<JBayerl@wc.com<mailto:JBayerl@wc.com>>, Thompson, Kees
<KeesThompson@wc.com<mailto:KeesThompson@wc.com>>, Dunn, J.J.
<jdunn@wc.com<mailto:jdunn@wc.com>>
Cc: WHJPMCService
<WHJPMCService@wilmerhale.com<mailto:WHJPMCService@wilmerhale.com>>
Subject: Settlement Communications



Counsel –




Attached please find two logs reflecting documents responsive to the Court’s May 7, 2023 Order
(docketed on May 13) that JPMC is withholding on the basis of privilege. These logs are designated
“Confidential / Not to be shared with USVI.”




The first attachment—WH External Communications Log—reflects communications between
Counsel for JPMC, Counsel for the Jane Doe 1 Class, and Mediator Layn Phillips. These documents
are being withheld under the mediation/settlement privilege based on the objections of Judge
Phillips and Counsel for the class.




The second attachment—S. Friedman Privilege Log—reflects documents from the custodial file of
JPMC General Counsel Stacey Friedman related to the settlement that are withheld on the basis of
Attorney-Client Privilege and Attorney Work Product Protections.

Best,

Jake

Jacob Tuttle Newman | WilmerHale
he/him/his
60 State Street
Boston, MA 02109 USA
       Case 1:22-cv-10019-JSR Document 220-1 Filed 09/18/23 Page 4 of 4


+1 617 526 6426 (t)
+1 617 526 5000 (f)
jacob.tuttlenewman@wilmerhale.com

Please consider the environment before printing this email.
________________________________
This email message and any attachments are being sent by Wilmer Cutler Pickering Hale and Dorr
LLP, are confidential, and may be privileged. If you are not the intended recipient, please notify us
immediately—by replying to this message or by sending an email to
postmaster@wilmerhale.com<mailto:postmaster@wilmerhale.com>—and destroy all copies of this
message and any attachments. Thank you.

For more information about WilmerHale, please visit us at
http://www.wilmerhale.com<http://www.wilmerhale.com/>.




________________________________

This message and any attachments are intended only for the addressee and may contain information
that is privileged and confidential. If you have received this message in error, please do not read,
use, copy, distribute, or disclose the contents of the message and any attachments. Instead, please
delete the message and any attachments and notify the sender immediately. Thank you.
